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 3                          UNITED STATES DISTRICT COURT
 4                                    DISTRICT OF NEVADA
 5                                           ***
 6    MICHAEL ERWINE,
 7                       Plaintiff,
      vs.
 8                                                 Case No.: 3:18-cv-00461-RCJ WGC
      CHURCHILL COUNTY, a political
 9    subdivision of the State of Nevada,
      CHURCHILL COUNTY SHERIFF                     VERDICT FORM
10
      BENJAMIN TROTTER, and DOES 1
11    through 10 inclusive;
12                    Defendants.
      __________________________________/
13

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15          CLAIM 1: Do you find that Benjamin Trotter violated Michael Erwine’s 14th
16 Amendment Due Process right to a name clearing hearing?

17          Yes: ___     No: ___
18          CLAIM 2: Do you find that Churchill County violated Michael Erwine’s14th
19 Amendment Due Process right to a name clearing hearing?

20          Yes: ___     No: ___
21          CLAIM 3: Do you find that Benjamin Trotter violated Michael Erwine’s Due
22 Process rights under the Nevada Constitution to a name clearing hearing?

23          Yes: ___     No: ___
24          Do you find that Churchill County violated Michael Erwine’s Due Process rights
25 under the Nevada Constitution to a name clearing hearing??

26          Yes: ___     No: ___
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 1         CLAIM 4: Do you find that Benjamin Trotter discharged Michael Erwine in

 2 violation of the public policy of the State of Nevada.

 3         Yes: ___     No: ___

 4         CLAIM 5: Do you find that Benjamin Trotter defamed Michael Erwine.

 5         Yes: ___     No: ___

 6         If yes, do you find that Benjamin Trotter’s statements tend to injure Mr. Erwine

 7 in his trade, business, or profession?

 8         Yes: ___     No: ___

 9         CLAIM 6: Do you find that Sheriff Trotter intentionally interfered with Mr.

10 Erwine’s potential future employment?

11         Yes: ___     No: ___

12         If yes to any of the above, what do you find to be Michael Erwine’s amount of

13 damages?

14         Impairment of Reputation:                            $_____________

15         Past Damages - October 10, 2016 to present:          $_____________

16         Future Economic Damages:                             $_____________

17         Emotional Distress:                                  $_____________

18         Punitive Damages:                                    $_____________

19

20               DATED this ______________________

21

22                                          ______________________________
23                                                 FOREPERSON

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